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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR 11-208 RAJ

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12

13   DINO GEORGE,
                                   Defendant.
14

15   Offenses charged:
16          Count 1 & 4:           Unlawful Production of an Identification Document in violation
17                                 of 18 U.S.C. §§ 1028(a)(1), 1028(b)(1)(A(ii)) and 2.

18          Counts 2, 5, & 9:      Aggravated Identity Theft, in violation of 18 U.S.C. §§ 1028A
                                   and 2.
19
            Count 3:               Attempted Unlawful Production of an Identification Document,
20                                 in violation of 18 U.S.C.§§ 1028(a)(1), 1028(b)(1)(A) and 2.
21
            Count 6:               Social Security Fraud, in violation of 42 U.S.C.§§408(a)(7)(B)
22                                 and 18 U.S.C. § 2.

23          Counts 7 & 8:          Bank Fraud, in violation of 18 U.S.C. §§1344 and 2.
24   Date of Detention Hearing: October 11, 2011
25          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
26   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:


     DETENTION ORDER
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 1          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2          1.      Defendant has an extensive history of failures to appear.

 3          2.      Defendant has no stable residence in the community.

 4          3.      Defendant is associated with 10 aliases and 2 dates of birth.

 5          4.      Defendant continues to commit similar crimes while on release, reflecting an

 6   unwillingness or inability to comply with supervision.

 7          5.      There appear to be no conditions or combination of conditions other than

 8   detention that will reasonably assure the appearance of defendant as required or ensure the

 9   safety of the community.

10          IT IS THEREFORE ORDERED:
11          (1)     Defendant shall be detained and shall be committed to the custody of the

12                  Attorney General for confinement in a correction facility separate, to the extent

13                  practicable, from persons awaiting or serving sentences or being held in custody

14                  pending appeal;

15          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

16                  counsel;

17          (3)     On order of a court of the United States or on request of an attorney for the

18                  government, the person in charge of the corrections facility in which defendant

19                  is confined shall deliver the defendant to a United States Marshal for the

20                  purpose of an appearance in connection with a court proceeding; and

21          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

22                  counsel for the defendant, to the United States Marshal, and to the United States

23                  Pretrial Services Officer.

24          DATED this 11th day of October, 2011.

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26
                                                  AJAMES P. DONOHUE
                                                   United States Magistrate Judge
     DETENTION ORDER
     18 U.S.C. § 3142(i)
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